

Lg 51 Doe v Hayes (2022 NY Slip Op 03657)





Lg 51 Doe v Hayes


2022 NY Slip Op 03657


Decided on June 3, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 3, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, AND WINSLOW, JJ.


518 CA 21-01084

[*1]LG 51 DOE, PLAINTIFF-APPELLANT-RESPONDENT,
vGERALD P. HAYES, ET AL., DEFENDANTS, WESTERN NEW YORK AMATEUR HOCKEY LEAGUE, INC., NEW YORK STATE AMATEUR HOCKEY ASSOCIATION, INC., AND USA HOCKEY, INC., DEFENDANTS-RESPONDENTS-APPELLANTS. 






LIPSITZ GREEN SCIME CAMBRIA LLP, BUFFALO (JOHN A. COLLINS OF COUNSEL), FOR PLAINTIFF-APPELLANT-RESPONDENT. 
AUGELLO &amp; MATTELIANO, LLP, BUFFALO (JOSEPH A. MATTELIANO OF COUNSEL), FOR DEFENDANTS-RESPONDENTS-APPELLANTS. 


	Appeal and cross appeal from an order of the Supreme Court, Erie County (Deborah A. Chimes, J.), entered March 2, 2021. The order, among other things, granted in part and denied in part the motion of defendants USA Hockey, Inc., New York State Amateur Hockey Association, Inc., and Western New York Amateur Hockey League, Inc., to dismiss the complaint against them. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: June 3, 2022
Ann Dillon Flynn
Clerk of the Court








